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William Michael Cunningham, PRO SE
5308 Ludlow Drive

Temple Hills, MD 20748
202-455-0430

UNITED STATES DISTRICT COURT FOR
THE CENTRAL DISTRICT OF CALIFORNIA

Case No.: 2:13-cv00779-DOC- JCG
MEMORANDUM OF POINTS AND

UNITED STATES OF AMERICA,

Plaintiff, AUTHORITIES IN SUPPORT OF
MOTION TO FILE A BRIEF
vs. AMICUS CURIAE
MCGRAW-HILL COMPANIES, INC., ) Hearing Date:
Time:
and STANDARD & POOR’S Judge: Hon. David O. Carter

FINANCIAL SERVICES, LLC, Et. AL) COM Mom 7D. Santa Ana

Defendant(s)
)

MEMORANDUM OF POINTS AND AUTHORITIES

I. Introduction

This memorandum supports the Motion of William Michael Cunningham
(“WMC”), an economist and citizen of the United States of America, to submit a
Brief Amicus Curiae in an action that the U.S. Department of Justice, acting on
behalf of the United States of America (Plaintiff), has brought against McGraw-

Hill Companies, Inc., and Standard & Poor’s Financial Services LLC, et. al.,

2. || (“Defendants”) under 12 U.S.C. § 1833a; 18 U.S.C. §§ 1341, 1343 & 1344. WMC

also moves for a waiver from the Court of all defects in this filing.

Memorandum of Points and Authorities - 1

 

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1 II. Interest of the Proposed Amicus

2 Background |
3 || William Michael Cunningham registered with the U.S. Securities and Exchange

4 || Commission as an Investment Advisor on February 2, 1990. He registered with the
5 || D.C. Public Service Commission as an Investment Advisor on January 28, 1994.

6 || WMC holds an MA in Economics and an MBA in Finance, both from the

7 || University of Chicago in Chicago, Ilinois.

8 || WMC is an economist who manages an investment advisory and research firm,

9 || Creative Investment Research, Inc. He creates socially responsible investments,

10 || provides socially responsible investment advisory services, and sought designation
1 jjasa Nationally Recognized Statistical Rating Organization (“NRSRO’”) in >

12 November, 1997 and in December, 2003. Defendant S&P is designated an

13 || NRSRO.

14 || WMC’s understanding of capital markets is based on firsthand knowledge ‘obtained, -
15. || in:a number of positions at a diversé set of major financial institutions. He served
16 ||as Senior Sales Representative for Data Resources, Inc., a McGraw Hill company.
17 || He was Senior Investment Analyst for an insurance company. WMC was an

is || Institutional Sales Representative in the Fixed Income and Futures and Options

19 || Group for a leading Wall Street firm. WMC also served as Director of Investor

20 || Relations for a New York Stock Exchange-traded firm. On November 16, 1995, he
21 || launched one of the first investment advisor websites. WMC has long been

22 || concerned with the integrity of the securities markets:

23 |;° On July 3, 1993, WMC wrote to SEC Commissioner Mary Schapiro to

24 || notify the Commission about a certain, specific investing "scam." A timely

25 |} warning was not issued to the investing public, members of the public were

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Memorandum of Points and Authorities - 2

 

 

 
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| geocoding and mapping, for the first time, the location of every loan in an MBS ::

}| this process is attached as Appendix A. He brought his idea to Countrywide Home

 

 

damaged, and the SEC launched retaliatory regulatory actions against Mr.
Cunningham.

. WMC designed the first mortgage security backed by home mortgage loans
to low and moderate income persons and originated by minority-owned
institutions. (See: Security Backed Exclusively by Minority Loans, The American
Banker. Friday, December 2, 1994 at http://www.minoritybank.com/cirm24.html)
° In October, 1995, the Washington Gas Light (WGL) Company retained

 

WMC to create mortgage-backed securities (MBS) consisting of one to four family
residential home loans originated by minority-owned financial institutions serving
areas of high social need in the WGL service territory. Mr. Cunningham developed

a completely original approach to the analysis of the MBS market that involved |

pool and tying that location to social data. A sample map WMC created in 1997 for!

Mortgage Loans, who proved to be a firm of questionable-ethics. In addition to
violating copyright and confidentiality agreements concerning this proprietary
MBS product and process, Countrywide attempted to overcharge for several of
these pools. Mr. Cunningham was able to reduce the price by 6/32nds, benefiting
WGL. Countrywide went on to use WMC’s processes, without permission, to
create predatory lending practices.

. On April 30, 1997, in Case 97-1256 at the US Court of Appeals for the DC
Circuit, Mr. Cunningham opposed the merger of Citigroup and Travelers and the

elimination of the Glass—Steagall Act.’

 

' United States Court of Appeals FOR THE DISTRICT OF COLUMBIA CIRCUIT. No. 97-1256 William Michael
Cunningham, APPELLANT v. Board of Governors of the Federal Reserve System, Appellee. Decided April 30,
1997.

Memorandum of Points and Authorities - 3

 

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° On June 15, 2000, WMC testified before the House Financial Services
Committee of the U.S. Congress on H.R. 3703, the Housing Finance Regulatory
Improvement Act on ways to improve the supervision and regulation of
government sponsored enterprises, Fannie Mae and Freddie Mac. See:
http://www.creativeinvest.com/fnma/fnmapr16.html

. In 2001, WMC designed a refinancing plan for victims of predatory lending.
(See: http://www.socialfunds.com/news/article.cgi?sfArticleld=682)

° On December 22, 2003 and February 6, 2006, statistical models created by
WMC using the Fully Adjusted Return ® Methodology signaled the probability of

system-wide economic and market failure. (See page 6:

 

http://www.sec.gov/rules/proposed/s71903/wmeccirl22203.pdf and page 2:

http://www.sec.gov/rules/proposed/s71005/weunningham5 867.pdf)

III in.the-U.S. District Court for the Southern District of New. York on behalf of the
public at a fairness hearing regarding the $1.4 billion dollar Global Research
Analyst Settlement. See: http://www.creativeinvest.com/sri/fairness.html

° In 2005, WMC served as an expert witness for homeowners in a case against
PMI Group, Credit Suisse First Boston, Moody’s, Standard and Poor’s, Fairbanks
Capital Corporation, Select Portfolio Servicing, US Bank National Association, as
Trustee of CSFB ABS Series 2002-HEI, et. al., in the New Jersey Superior Court
Law Division - Monmouth County. His testimony established that the corporate
parties listed above, including the defendant, were in fact responsible for
facilitating unfair and predatory lending practices.

. On December 22, 2005, WMC issued a strongly worded warning that
system-wide economic and market failure was a growing possibility in a meeting

with Ms. Elaine M. Hartmann of the Division of Market Regulation at the SEC.

Memorandum of Points and Authorities - 4

 

 

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° - On Monday, April 11, 2005, WMC testified before Judge William H. Pauley} — :

 
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| unbiased. view in support of broad public interests. His education and experience

| have uniquely positioned him to provide objective, independent research and

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° On June 18, 2009, WMC testified before the House Ways and Means Select
Revenue Measures Subcommittee at a joint hearing with the Subcommittee on
Domestic Monetary Policy and Technology of the Financial Services Committee
concerning ways to improve the New Markets Tax Credit Program. See:

http://www.novoco.com/new_markets/resource_files/advocacy/cunningham_testi

 

mony 061809.pdf
° On July 19, 2010, WMC testified on behalf of the public at the Joint

Interagency Public CRA hearings. See:

http://www.fdic.gov/CRAhearings/Individual_Presentations.pdf
° On January 25, 2012, WMC submitted a "Friend of the Court" brief in a case
before the United States Court of Appeals for the Second Circuit (Case 11-5227).

As a friend to the Court, Mr. Cunningham provides .an independent, objective and

opinions concerning the issues central:to the case.

WMC has long been concerned with the “process of determining whose credit
ratings should be used and the level of oversight to apply to such credit rating
agencies.” In November, 1997 and, again in December, 2003, WMC wrote to the
Division of Market Regulation at the Securities and Exchange Commission, on
behalf of WMC and Creative Investment Research, Inc. (CIR) to request that CIR
be considered a nationally recognized statistical rating organization ("NRSRO").
WMC requested this status only with respect to rating securities issued by financial
institutions owned by women and minorities. WMC never received a reply from
the Commission. We have attached a copy of a letter sent to Ms. Nazareth,
Director, Division of Market Regulation, Securities and Exchange Commission, as

Appendix 1.

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As this record shows, over the past 30 years, WMC has sought to protect the public
by working with Federal regulatory agencies, including the Federal Reserve Board
(FRB), the Securities and Exchange Commission (SEC), the Federal Deposit
Insurance Corporation (FDIC), the Financial Crisis Inquiry Commission (FCIC),
the U.S. Department of Justice (DOJ), the Consumer Financial Protection Bureau
(CFPB), the Federal Housing Finance Agency (FHFA), the Department of
Commerce (Minority Business Development Agency) and the US Treasury, as an
employee or as a contractor. Despite his education and experience, all offers to
provide consulting services and all employment applications have been denied?
(due to age, racial and class discrimination.) Further attempts to work with these
institutions would be futile.’ This leaves Mr: Cunningham no option but to appeal
to this Court in order to have his interest and his:independent, objective technical:
knowledge and experience given consideration. Mr..Cunningham’s interest in this
matter stems from his role as an economist and an expert in marketplace ethics:and.

rests upon his status as a citizen of the United States.”

WMC’s interest also stems from the status of Defendant S&P as an NRSRO. It is: |

the NRSRO designation that gives the Defendant’s credit ratings authority. Indeed,
without NRSRO status, the Defendant’s ratings would have limited weight or

meaning, since institutional security purchasers are required to consult NRSRO

 

” He has submitted over three hundred unsolicited proposals, solicited proposals and employment applications. All
have been rejected.

> Mr. Cunningham invokes the Futile Gesture (McDonnell Douglas) Doctrine. He 7.) is a member of a protected
class. 2). he applied for and was qualified for NRSRO status. 3.) he was rejected despite his qualifications and 4.) as
this case shows, other less competent applicants received the designation after Mr. Cunningham was rejected. See:
Dominguez-Curry v. Nevada Transp. Dept., 424 F.3™ 1027, 1037 (9" Cir. 2005)

* In its’ November 7" Order Denying Motion to Intervene, this Court concluded that Mr. Cunningham “appears to
be an engaged citizen...” and even questioned this. Mr. Cunningham’s broad experience working with a wide range
of financial institutions, his 1997 economic forecast showing that ethical problems would give rise to systemwide
financial damage, his testimonies before the U.S. Congress, his testimonies in Federal Court and his education were
not cited. One wonders if a white economist with similar education and experience would be considered merely “an
engaged citizen.” Unfortunately, there are no economists, of any race, with Mr. Cunningham’s track record, so a
direct comparison is not possible.

Memorandum of Points and Authorities - 6

 

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ratings’ BY CUSTOM, LAW AND REGULATION. While NRSRO status gives
ratings added value, by law’ this designation is to be granted only in the public
interest. Significant barriers to entry exist, as noted by the Congress of the United
States in the Credit Rating Agency Reform Act of 2006.’ As Mr. Cunningham
shows in his brief, given the industry’s monopoly-like structure, inadequate
consideration of the public interest by both the Securities and Exchange
Commission, the entity that grants NRSRO designation, and the U.S. Department
of Justice, agent for the Plaintiff, has clearly damaged the public® and investors.
Under current practices, Plaintiff United States of America’s agent, the U.S.

Department of Justice (“DOJ”), settles with corporate violators, and does not seek

|| jail time in financial fraud cases involving large, nonminority corporations. This

protects the monetary interest of a narrow set of non-minority persons, short
circuits the justice process, fails to.protect the interest.of both the proposed

| intervener and the general public; does little:to.protect victims of other financial.
crimes, and damages the Country’s long term economic prospects. Italso. =.
eliminates any opportunity for interested parties to comment as Amicus Curiae,
since these settlements are rarely reviewed by an Appeals Court. This strategy also
leads to recidivism.

Were Plaintiff DOJ to pursue the charges at issue in this case in a manner that
protects the public, they would request an immediate suspension of Defendant

S&P’s NRSRO status. The legal right, granted by the Plaintiff, to call oneself an

 

> See: http://www.calpers.ca.gov/eip-docs/investments/policies/invo-risk-mang/sec-lend-monitor.pdf

® See: PUBLIC LAW 109-291—SEPT. 29, 2006 120 STAT. 1327.

7 See Pub.L. 109-291: “the 2 largest credit rating agencies serve the vast majority of the market, and additional
competition is in the public interest..”

® One cannot be legally responsible for protecting the public, have the public experience a $79 trillion dollar loss,
bring action based, in part, on that loss, and claim to have competently protected the public interest. Further, a
statistical review of Plaintiff DOJ prosecution data shows that were Defendants owned and managed by African
American males, it is far more likely, statistically, that DOJ would pursue jail time for management.

Memorandum of Points and Authorities - 7

 

 

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|make arguments concerning the justification for removing NRSRO registration

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NRSRO is at the center of this case but Plaintiff has not requested even a
temporary suspension. The NRSRO industry is organized as an oligopoly.’ If the
Defendant is required to suspend or forfeit NRSRO status, not only would there be
room for additional NRSRO’s but the renewed commitment to competition on the
part of the Plaintiff this signals would lower the probability that another financial
crisis will occur. The public would be better protected.

Finally, the Agent for the only existing Plaintiff, is a compromised and racially
biased government agency, cannot adequately represent the interests of African
Americans in this matter. Mr. Cunningham is an African American. Plaintiff will

not make arguments that link market and NRSRO practices to racial bias nor will it

based on the legal requirement that an NRSRO- have the ability “to operate
independently of economic: pressurés.or control..” These:are “necessary element(s)
to the proceedings that will be neglected” without this brief.”
WMC has no financial connection to any of the parties in this case: no one
contributed money to fund preparing or submitting the brief.

| Il. Argument
As noted by Charles R. Nesson, William F. Weld Professor of Law at Harvard Law
School and Director of the Berkman Center for Internet & Society in a motion to
support the filing of an amicus curiae brief in Case No.: 00 Civ. 0277 (LAK):
"Federal courts have discretion to permit participation of amici where such

participation will not prejudice any party and may be of assistance to the court.’

 

° The industry is an oligopoly, characterized by higher than normal prices and profits, lower quality and quantity of
output. Significant barriers to entry also exist, as shown by both Mr. Cunningham’s experience and by the 2012
SUMMARY REPORT OF COMMISSION STAFF’S EXAMINATIONS OF EACH NATIONALLY
RECOGNIZED STATISTICAL RATING ORGANIZATION. Report of the Staff of the U.S. Securities and
Exchange Commission. November 2012.

'° See: Racial Bias in Securitization and Community Lending http://twisri.blogspot.com/2009/08/wells-fargo-sued-

for-racially-biased.html

Memorandum of Points and Authorities - 8

 

 

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Strougo v. Scudder, Stevens & Clark, Inc., 1997 WL 473566 (S.D.N.Y. Aug. 18,
1997) (citing Vulcan Society of New York City Fire Dep’t, Inc. v. Civil Service
Comm’n, 490 F.2d 387, 391 (2d Cir. 1973)). See also: Zell/Merrill Lynch Real
Estate Opportunity Partners Limited Partnership II v. Rockefeller Center
Properties, Inc., 1996 WL 120672 (S.D.N.Y. March 19, 1996) (granting amicus
leave to appear and argue, citing cases ‘uniform in support of a district court’s
broad discretion to permit or deny amici appearances’); United States v. Gotti, 755
F.Supp. 1157, 1158 (E.D.N.Y 1991) (amici can ‘provide supplementary assistance
to existing counsel and insur[e]a complete and plenary presentation of difficult
issues so that the court may reach a proper decision’).”
. Conclusion

Under current corporate prosecution practices, Plaintiff U.S. Department of Justice
(“DOJ”) limits any opportunity for interested parties to appearas Amicus Curiae,
since settlements are rarely reviewed by.an Appeals Court:
For the reasons above, I-respectfully submit that the Court should grant leave to
file the proposed brief amicus curiae.

Dated: December 6, 2013
Respectfully submitted,

LAS *

/Williém MichaelCdnningham/ Pro Sd

       
 

Economist and Social Investing Advisor
5308 Ludlow Drive

Temple Hills, MD 20748

(866) 867-3795

Memorandum of Points and Authorities - 9

 

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APPENDIA A

 

 

 

 

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° Washington Gas FNMA 7.5% Pool
Map Layers
vn. ereage ZIP Cade:
State {Low Res}
é Loan in MBS Pop!

5-Digit ZIP Code Median income

   

 

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Ropyight Greative ivestpent Research, Ine. 1997.

 

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Memorandum of Points and Authorities - 10

 
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I APPENDIX 1
2 Monday, December 22, 2003

3 || Ms. Annette L. Nazareth

Director, Division of Market Regulation
4 |! Securities and Exchange Commission
450 Fifth Street, N.W.

5 || Washington, DC 20549

6 || Re: Creative Investment Research, Inc.

7 || Dear Ms. Nazareth:

8 |! We submit this letter on behalf of Creative Investment Research, Inc. (CIR) to request that the firm be considered a
nationally recognized statistical rating organization ("NRSRO") for purposes of paragraphs (c)(2)(vi)(E), (F), and

9 (H) of Rule 15c3-1 under the Securities Exchange Act of 1934 (17 CFR Sec. 240.15c3-1). We request this status
only with respect to rating financial institutions owned by women and minorities.

10
In support of this request, we refer you and your staff to information we have provided establishing that the firm:
11 . . .
|| 1. Is known in the United States as an issuer of ratings of minority-owned financial institutions;
2. Has the financial resources and staffing to guarantee that it.can issue reliable evaluations of the financial and
13 “|| social performance of minority-owned financial institutions. (As recent'events have shown, we suggest the ability
“to operate independently of economic pressures or control by the companies it rates” is moot. We are a fully
14 |) independent firm.) me
IS 1}3. Uses a proprietary rating procedure, the Fully Adjusted Return™ Methodolgy, a system designed to ensure’
reliable and truthful evaluations;
. 16
4, Has senior level access at minority-owned financial institutions; and
17
18 5. “Has and enforces internal procedures to prevent misuse of non-public information.”
19 In light of the foregoing, we respectfully ask you to grant CIR the NRSRO status requested.
20 If you need additional information, please contact me.
Thank you,
21
22
, || William Michael Cunningham
23 |1 Social Investing Adviser
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Memorandum of Points and Authorities - 11

 

 

 
